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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

CHARLES MICHAEL PERRY,

                       Petitioner,                           Civil Number 21-10950
                                                             Honorable David M. Lawson
v.

GEORGE STEPHENSON,

                  Respondent.
________________________________/

            OPINION AND ORDER DENYING MOTION TO EXTEND TIME
                  AND DISMISSING CASE WITHOUT PREJUDICE

        This comes to this Court in an unusual posture. Petitioner Charles Michael Perry, a

Michigan prisoner, filed a case-initiating paper entitled “Covid-19 Motion to Extend Time to File”

in April 2021 requesting that the Court grant him additional time to file a petition for a writ of

habeas corpus challenging his state court convictions. Perry did not submit an actual habeas

petition, nor did he pay the required filing fee or submit an application to proceed in forma

pauperis. Consequently, on May 20, 2021, the Court issued a deficiency order requiring him to

correct those deficiencies within 30 days, informing him that his failure to do so would result in

dismissal of this case. Perry did not correct the deficiencies within the allotted time or otherwise

respond to the Court’s orders. Instead, in August 2021, he instituted a new action by filing a

petition for a writ of habeas corpus and an application to proceed in forma pauperis. Those

materials were accepted for filing and the case is currently pending before another judge. See

Perry v. Stephenson, Case No. 21-12139 (E.D. Mich.).


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         Without commenting on the timeliness of that petition, it appears that the present case

serves no useful purpose and ought to be dismissed. However, the dismissal will not constitute

an adjudication on the merits of any habeas corpus petition.

         Accordingly, it is ORDERED that the petitioner’s motion to enlarge his filing deadline

(ECF No. 1) is DENIED, and this case is DISMISSED WITHOUT PREJUDICE.


                                                               s/David M. Lawson
                                                               DAVID M. LAWSON
                                                               United States District Judge

Dated:     October 20, 2021




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